Case 2:16-cv-01419-JAK-AFM Document 67 Filed 09/06/17 Page 1 of 1 Page ID #:258


                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES − GENERAL

 Case No.        2:16−cv−01419−JAK−AFM                Date 9/6/2017
                 HERMAN LEORY SMILEY, SR. V. AECOM TECHNOLOGY
 Title
                CORPORATION ET AL

 Present        The Honorable JOHN A. KRONSTADT, UNITED STATES DISTRICT
                JUDGE

                  Andrea Keifer                             Not Reported
                  Deputy Clerk                        Court Reporter / Recorder


         Attorneys Present for Plaintiffs:        Attorneys Present for Defendants:
                   Not Present                              Not Present


 Proceedings:           (IN CHAMBERS) ORDER DISMISSING CASE WITHOUT
                        PREJUDICE (JS-6)

 In light of the parties’ Notice of Settlement, the Court orders that this action is
 dismissed without prejudice. The Court retains jurisdiction to vacate this Order and
 to reopen the action within 60 days from the date of this Order, provided, however,
 any request by any party(ies) that the Court do so, shall make a showing of good
 cause as to why the settlement has not been completed within the 60-day period,
 what further settlement processes are necessary, and when the party(ies) making
 such a request reasonably expect the process to be concluded. This Order does
 not preclude the filing of a stipulation of dismissal with prejudice pursuant to Fed.
 R. Civ. P. 41, which does not require the approval of the Court. Such stipulation
 shall be filed within the aforementioned 60-day period, or by such later date
 ordered by the Court pursuant to a stipulation by the parties that conforms the
 requirements of a showing of good cause stated above.


                                                                                      :00
                                                               Initials of Preparer: ake




 CV−90                             − CIVIL MINUTES−GENERAL −                      Page 1 of 1
